Appellate Case: 24-5038     Document: 010111099388       Date Filed: 08/23/2024    Page: 1
                                                                                   FILED
                                                                       United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                          Tenth Circuit

                              FOR THE TENTH CIRCUIT                          August 23, 2024
                          _________________________________
                                                                          Christopher M. Wolpert
                                                                              Clerk of Court
  UNITED STATES OF AMERICA,

        Plaintiff - Appellee,

  v.                                                          No. 24-5038
                                                    (D.C. No. 4:21-CR-00140-JFH-1)
  JOSIAH GAMMILL,                                             (N.D. Okla.)

        Defendant - Appellant.
                       _________________________________

                              ORDER AND JUDGMENT*
                          _________________________________

 Before TYMKOVICH, EBEL, and FEDERICO, Circuit Judges.
                  _________________________________

       Josiah Gammill pled guilty to one count of second-degree murder. The district

 court sentenced him to 604 months in prison, which was within the range of

 imprisonment that the parties stipulated to in the plea agreement. Although his plea

 agreement contained a waiver of his appellate rights, Mr. Gammill filed a notice of

 appeal. The government then filed a motion to enforce the appeal waiver.

       Mr. Gammill’s counsel filed a response to the motion pursuant to Anders v.

 California, 386 U.S. 738, 744 (1967), stating her belief that opposition to the motion

 would be frivolous. Consistent with the procedure outlined in Anders, id. at 744, we



       *
          This order and judgment is not binding precedent, except under the doctrines
 of law of the case, res judicata, and collateral estoppel. It may be cited, however, for
 its persuasive value consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.
Appellate Case: 24-5038    Document: 010111099388        Date Filed: 08/23/2024    Page: 2



 gave Mr. Gammill the opportunity to file a pro se response to show why the appeal

 waiver should not be enforced. His response was initially due on July 31, 2024, and

 we sua sponte extended the deadline to August 13, 2024, but to date he has not filed a

 response.

       We will enforce an appeal waiver if (1) “the disputed appeal falls within the”

 waiver’s scope; (2) “the defendant knowingly and voluntarily waived his appellate

 rights”; and (3) enforcing the waiver would not “result in a miscarriage of justice.”

 United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc). The

 government argues that all three of these conditions are met in this case.

       Consistent with our obligation under Anders, we conducted an independent

 review of the proceedings. See 386 U.S. at 744. After doing so, we agree it would

 be frivolous to oppose the government’s motion. We therefore grant the

 government’s motion to enforce the appeal waiver and dismiss the appeal.


                                             Entered for the Court
                                             Per Curiam




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